                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY
KIM, MIGUEL BARRETO, and BRETT
MENZIES FOLKINS, on behalf of
themselves and all others similarly C.A. No. 23-cv-441
situated,

                       Plaintiffs,

              v.

TWITTER, INC.

                        Defendant.



                   PLAINTIFFS’ NOTICE OF ADDITIONAL
                      SUPPLEMENTAL AUTHORITY

      On February 12, 2025, Plaintiffs’ counsel obtained two additional arbitration

awards that further support denial of Twitter’s Motion to Dismiss. These awards

(combined in one decision) concern employees who contend they were laid off

when they did not click “yes” in response to Elon Musk’s “Fork in the Road” email

– like Plaintiff Folkins. Twitter has argued that Plaintiff Folkins voluntarily

resigned, and was not laid off, and that no reasonable factfinder could thus find




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that he was entitled to severance pay. This decision undermines Twitter’s

argument and supports Plaintiffs’ claims.

      Plaintiffs thus hereby submit these recently issued awards as additional

supplemental authority in opposition to Twitter’s motion to dismiss. A copy of the

decision is attached as Exhibit 1.


Dated: February 14, 2025              Respectfully submitted,

                                      EMMANUEL CORNET, JUSTINE DE
                                      CAIRES, GRAE KINDEL, ALEXIS
                                      CAMACHO, JESSICA PAN, EMILY KIM,
                                      MIGUEL BARRETO, and BRETT
                                      MENZIES FOLKINS, on behalf of
                                      themselves and all others similarly situated,

                                      By their attorneys,

                                      /s/ Kate Butler
                                      Kate Butler, Bar I.D. No. 6017
                                      Kate Butler Law LLC
                                      1509 Gilpin Ave, Suite No. 3
                                      Wilmington, DE 19806
                                      Phone: (302) 966-9994
                                      Email: kate@katebutlerlaw.com

                                      Shannon Liss-Riordan (pro hac vice)
                                      Bradley Manewith (pro hac vice)
                                      Thomas Fowler (pro hac vice)
                                      LICHTEN & LISS-RIORDAN, P.C.
                                      729 Boylston Street, Suite 2000
                                      Boston, MA 02116
                                      (617) 994-5800
                                      Email: sliss@llrlaw.com
                                      bmanewith@llrlaw.com
                                      tfowler@llrlaw.com

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                         CERTIFICATE OF SERVICE

      I, Kate Butler, hereby certify that a true and accurate copy of the redacted

version of this document was served on all counsel of record for Defendant via

filing on the Court’s CM/ECF system and that Plaintiffs have served the sealed

version of this document on Defendant’s counsel via email on February 14, 2025.


                                       /s/ Kate Butler
                                       Kate Butler




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